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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


MV3 PARTNERS LLC,                                §
           Plaintiff,                            §
                                                 §        6:18-CV-00308-ADA
v-                                               §
                                                 §
ROKU, INC.,                                      §
                   Defendants                    §


                ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
                 TO AMEND FINAL INFRINGEMENT CONTENTIONS

       Before the Court is Plaintiff MV3 Partners LLC’s Opposed Motion for Leave to Amend

Final Infringement Contentions, which was filed on January 16, 2020. ECF No. 96. Defendant

Roku filed its Opposition on January 28, 2020. ECF No. 99. MV3 filed its Reply in Support on

February 7, 2020. ECF No. 107. Roku filed its opposed sur-reply on March 19, 2020. ECF No.

136. For the reasons described herein,6 the Court GRANTS MV3’s Motion.


I.     Factual Background

       MV3 filed its Final Infringement Contentions on September 24, 2019 but seeks to amend

these contentions based on documents it later received regarding the DIAL functionality of Roku

devices. ECF No. 96 at 5.


II.    Legal Standard

       A party may amend its infringement contentions only if good cause exists and the Court

consents. See Fed. R. Civ. P. 16(b)(4). In the Fifth Circuit, district courts use a four factor test

to determine whether there is good cause to modify the scheduling order. S & W Enters., L.L.C.

v. Southtrust Bank of Ala., NA, 315 F.3d 533, 536 (5th Cir. 2003). The four factors are: (1) the

explanation for the failure to meet the deadline; (2) the importance of the amendment; (3)
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potential prejudice in allowing the amendment; and (4) the availability of a continuance to cure

such prejudice. See id.


III.   ANALYSIS

       MV3 contends there is good cause for its motion to be granted based on the balancing of

four factors. ECF No. 96 (citing Motion Games, LLC v. Nintendo Co., No. 6:12-CV-878-RWS-

JDL, 2015 WL 1774448, at *2 (E.D. Tex. Apr. 16, 2015). Roku disagrees. ECF No. 99.

       A.      Factor 1—The Explanation for the Party’s Failure to Meet the Deadline

       MV3 argues that it was diligent in seeking discovery of relevant late produced

documents. ECF No. 96 at 5. On September 5, 2019, Roku initially produced some source code

in response to MV3’s Requests for Production of Documents, Nos. 3, 4, and 5.             Id. On

September 24, 2019, MV3 requested the remaining code and received it on October 16. Id.

MV3 also served its Final Infringement Contentions on September 24, 2019. Id. On December

6, 2019, after reviewing the new code, MV3 requested documents related to         . Id. at 6. MV3

did not receive the       documents until January 8, 2020. Id. at 7.

       Roku argues that the MV3 has not been diligent. ECF No. 99 at 2. In particular, Roku

argues that MV3 had the DIAL source code for over three months before filing its motion to

amend. Id. at 3. Roku further argues that the         documents are an irrelevant red herring. Id.

at 8. Roku also argues that even if the            documents are relevant, they are nonetheless

publicly available. Id. at 7-8. Roku finally argues that MV3 does not seek to add a simple

doctrine of equivalence theory but rather is attempting add an entirely new operation to its

contentions. Id.

       In its reply, MV3 contends that DIAL is part of the case, and that Roku has been on

notice of it throughout the case. ECF No. 107 at 2. MV3 further contends that it is not adding an
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entirely new operation, but it is just seeking to include information it previously requested. Id. at

3. MV3 also argues that it pursued DIAL during discovery but was impeded by Roku. Id. at 4.

       Given the cat-and-mouse games played during discovery, the Court finds that MV3 was

unable to fully articulate its infringement theory by the original deadline. During discovery, it

appears that Roku delayed producing portions of source code and the                       documents.

Therefore, in view of Roku’s actions, the Court finds that MV3 was sufficiently diligent,

although there was room for improvement.

       B.      Factor 2—Importance of the Amendment

       Roku argues that MV3’s delay in adding DIAL to its infringement theory shows the lack

of importance of the theory to the case. ECF No. 99 at 8.

       MV3 counterargues that the amendment is important because, without it, MV3 would not

be able to present a full infringement theory. ECF No. 96 at 8. MV3 also states that its absence

would require MV3 to go on trial without a complete record. Id.

       The Court finds that this amendment is important because it allows MV3 to fully present

its infringement theory.

       C.      Factor 3—Potential Prejudice in Allowing the Amendment

       Roku argues that it is hard to believe that it will not suffer any prejudice by an

amendment to the infringement allegations. ECF No. 99 at 8. In particular, Roku contends that

it will have to determine how third parties implement DIAL, which will be difficult considering

that third party discovery is no longer available. Id. at 9. Roku further states that it will suffer

prejudice regarding its invalidity case since MV3 is shifting of the scope of the claims. Id. Roku

argues that such a shift would require it to need time to search for additional prior art. Id. at 10.
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       MV3 argues that Roku is not prejudiced because Roku was on notice that DIAL was an

issue. ECF No. 96 at 9. MV3 further contends that if Roku does suffer some sort of prejudice, it

is because Roku failed to produce the requested documents in a timely manner. Id. MV3 further

argues that it is actually the party suffering prejudice due to Roku’s request for a three-month

continuance. ECF No. 107 at 5.

       The Court finds that MV3 will suffer more prejudice if the Court denies its motion than

Roku will suffer if the Court grants MV3’s motion.           Because of the importance of this

amendment, MV3 will suffer significant prejudice, which cannot be cured by a continuance. By

contrast, not only can any prejudice to Roku be cured by a continuance, because Roku delayed

producing relevant documents, it partially created any ultimate prejudice it may suffer.

Furthermore, because Roku was aware of the potential infringement of DIAL throughout the

case, it is not unreasonable to expect that Roku should have taken steps to prepare its defense for

that accused feature as it became more and more obvious that MV3 intended to accuse DIAL.

Because Roku failed to take steps at the time to reduce any prejudice it might suffer in the future,

its inaction weighs against it when the Court evaluates the prejudice in allowing this amendment.

       D.      Factor 4—Availability of a Continuance to Cure Such Prejudice

       Roku argues that a continuation would be required because it would need to understand

third-party implementation and complete another prior art search. ECF No. 99 at 10.

       MV3 argues that Roku’s failure to timely produce requested materials should not be

rewarded with a continuance. Id. MV3 further argues that a continuation is not required because

trial is not scheduled until June 2020. ECF No. 96 at 10.

       As a preliminary matter, the Court concludes that a continuance may—although it is not

certain to—be needed. On one hand, the Court finds additional time could be helpful for Roku
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to understand third-party implementation. On the other hand, Roku’s own inaction mitigates

against a continuance. Finally, the Court does not believe that allowing the amendment makes it

necessary for Roku to conduct another prior art search.

       To the extent there is any prejudice, the Court believes that a very short continuance—if

needed—would cure that prejudice.


IV.    CONCLUSION

       Based on the foregoing, Plaintiff MV3’s Motion for Leave to Amend Final Infringement

Contentions is GRANTED (ECF No. 96).



SIGNED this 23rd day of March, 2020.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
